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                  , ,;_,_,,                '     -                '

    <             '• •                          Heidi Brown
            -- ---,, ·r;-- .·-their'news.                                   --- -         h           :"       •   "° , , .. , ,    •    ,



                        .Because we miss them a lot.
                    .·:THANKS.
                      •\    J'        '.                 ,

                           .<'                 ,,,




                                                                      Fri June 28


                           •·- · Hello Heidi My -
                                      •mother was in the emer~ency
                                           (oom last night becau~e-she h~d a :
                                           heart problem, high:blood -_:.:· -
                                                     '                                            -~

                                                                                              -
                             ; pressure .
                                                                                                  -



                                                                                                           '
                            .' Jes i:I, wake-up call that she's not doing
                             ' very well. I think
                                       _she is suffering                             ._ '
                                 •.·, emotionally
                                       '     -
                                                  and physically
                                                             '·             '


                           • ·, from not being able to int~ract _·•
                                 ' with her little daughters Evc(and
                                  • Juliette, We all miss them l;>ut ~yen.
                                 • .mpre so their French grahdpar~nts.
                           -.: Could you give them an ex~h-ange via .
                                 ( Visio with Eva and Juliette?,
                                 i-
                                           ]"HANKS




                           • : , •Fabienne                                                                           ' 14:39 .//
                                                                                      \, __.'.                         ;•-- ··-·· --·.
            - ~ - - - - · - - - - ~ - - - - - - - - · - " " • · - · ..:-.                                              ·-·~-- '--~·- -

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    <       fl~.~~
                                Heidi Brown
    -- - . ·: -- - leuf nouvelles..        •    ' -                                                                                       -
                     : Car elles nous mahqµ'~nt •
                  · '. :beaucoup.        • • •
                    ,· Merci


                                                 ven. 28 juin - • . -
                         .'-·._,., - - • - - '"'"'   .,.,...   ---•   ,---   ,.• •-,,-·,.    •·.,•~--~--;-§•7,:cf-••--~-   ~ ...--    •



                         .Bohjour Heidi
                          ,<
                     . . .·-.    '       , ,
                                       ,,,                            '        '   "-'
                                                                                             •.
                                                                                              ,._   .-           ,.

                      ;. Ma mere a ete aux urgE::!nces
                      .- ¢ette nuit car elle. a eu:ul1 _-
                          probl~me au coour,. de' . . _ • ,                              "     '         '   ,



                      : J'.hy.pertension ...
                    ?     C'est une alerte, qu'elle ne va
                    ':, pas tres bien.            •
                      ... Je pense qu'elle subit -·
                      ; :ernotionnellement et                                                r .. .
                   •· physiquement de ne.pas .•
                   • ,. pouvoir echanger ave}::; ses •
                     . :p13tites.filles Eva etJqliette. ••
                      ; _Elles nous.,manquenta,to~s
                      : •.mars encore plus crueHernent a .
                   , : leurs grands-parents fran¢ais.
                 • ::•, Po.urrais-tu leur acc_orderun
                      -: ecnange par Visio c!vec Eva et
                          . 1·tette ?: .
                 . . ': .Ju
                 . . \     .

                      ',Merci
                  • ; Fabi~nne •
                ,,,..... .. . ... - -.
                                •·.            . •                                             ,•• -·~-- ; --                        .- -
    ~ - - - • : : :___;~--~-=-~--                              ·---•--~:-                         •w••• ,~•~::_•           , -••-         ~   •

     +r


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